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                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

 MICHAEL L. HODGE,                             §
                                               §
                  Plaintiff,                   §
                                               §
 v.                                            §
                                               §    Civil Action No. 22-cv-02252-X-BT
 THE BANK OF NEW YORK                          §
 MELLON, et al.,                               §
                                               §
                  Defendants.                  §

                                          ORDER

       Before the Court is the defendants’ Emergency Motion to Dissolve Temporary

Restraining Order [Doc. No. 3]. For the reasons explained below, the Court GRANTS

the motion to dissolve the temporary restraining order (“TRO”).

       Michael Hodge has sued the defendants (collectively, “the Bank”) four times to

stop the foreclosure sale of a property at 1014 Wind Ridge Drive, Duncanville, Texas

75137. In this fourth suit, Hodge succeeded in obtaining a TRO from the Texas state

court. The Bank removed to this Court and moved to dissolve the TRO.

       When a party removes a case to federal court, any previous state-court TRO in

that action “shall remain in full force . . . until dissolved . . . by the district court.” 1 If

a defendant moves to dissolve a state-court TRO, the plaintiff “must demonstrate a

substantial likelihood of success on the merits” to prevail. 2




       1   28 U.S.C. § 1450.
       2 OSR Patent LLC v. Siragusa, No. 4:18-CV-774-ALM-KPJ, 2018 WL 10436624, at *2 (E.D.

Tex. Nov. 21, 2018); see also Fed. R. Civ. P. 65(b)(4).

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        This Court will uphold a TRO only if a plaintiff can “establish [1] that he is

likely to succeed on the merits, [2] that he is likely to suffer irreparable harm in the

absence of preliminary relief, [3] that the balance of equities tips in his favor, and

[4] that an injunction is in the public interest.” 3 “[I]f a party fails to meet any of the

four requirements, the court cannot grant the TRO . . . .” 4

        The Bank argues that res judicata bars Hodge’s claims because after Hodge

voluntarily dismissed his prior claims against the Bank and asserted that he “no

longer desires to pursue his causes of action against defendants at this time,” he

nonetheless sued them again, on the next business day, asserting—what the Bank

argues to be—the same claims. 5 Although this Court does not reject the Bank’s res-

judicata argument, 6 the Court chooses to decide this motion on the third TRO factor.

        Hodge fails to demonstrate that the balance of equities tips in his favor.

Specifically, Hodge has filed four lawsuits seeking to prevent the Bank from

foreclosing on the property. His naked attempts at judge shopping evince unclean

hands—a doctrine that “defeat[s] an undeserving plaintiff’s claim for equitable

relief.” 7 More specifically, a litigant has unclean hands where he is “tainted with




        3   Tex. Midstream Gas Services, LLC v. City of Grand Prairie, 608 F.3d 200, 206 (5th Cir. 2010).
        4   Greer’s Ranch Cafe v. Guzman, 540 F. Supp. 3d 638, 645 (N.D. Tex. 2021) (O’Connor, J.).
        5   Doc. No. 3 at 3–4.
        6 See Derr v. Swarek, 766 F.3d 430, 441 (5th Cir. 2014) (“If the plaintiff chooses to extinguish
his rights forever he is entitled to do so, and the defendant will reap the benefit of a res judicata bar
to any attempt by the plaintiff to re-litigate the dismissed claims.”).
        7 Positive Black Talk Inc. v. Cash Money Records, Inc., 394 F.3d 357, 379 (5th Cir. 2004); see

also Lassiter v. City of Philadelphia, 716 F.3d 53, 57 (3d Cir. 2013) (“[J]udges have the power to sua
sponte raise equitable defenses like the doctrine of unclean hands.”).

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inequitableness or bad faith relative to the matter in which he seeks relief.” 8 With

unclean hands from his attempts at judge shopping, Hodge cannot demonstrate that

the balance of equities warrant any form of injunctive relief. The Court will not

uphold the TRO.

      This Court GRANTS the Bank’s motion and DISSOLVES the TRO.

      IT IS SO ORDERED this 11th day of October, 2022.




                                                       BRANTLEY STARR
                                                       UNITED STATES DISTRICT JUDGE




      8   Precision Instrument Mfg. Co. v. Auto. Maint. Mach. Co., 324 U.S. 806, 814 (1945).

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